        Case 1:23-cv-10511-WGY Document 285 Filed 10/06/23 Page 1 of 2




                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


 UNITED STATES OF AMERICA, et al.,

                       Plaintiffs,

                     v.                                 Civil Action No. 1:23-cv-10511-WGY


 JETBLUE AIRWAYS CORPORATION and
 SPIRIT AIRLINES, INC.,

                       Defendants.


                                 NOTICE OF APPEARANCE

       Pursuant to Local Rule 83.5.3, please enter the appearance of the undersigned Trial

Attorney in the above-captioned case as counsel for Plaintiff United States of America.



                                                    Respectfully submitted,


Dated: October 6, 2023                      By:     /s/ Don P. Amlin
                                                    Don P. Amlin
                                                    Trial Attorney
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        Case 1:23-cv-10511-WGY Document 285 Filed 10/06/23 Page 2 of 2




                                CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system will be sent electronically
to counsel of record for all parties as identified on the Notice of Electronic Filing.


Dated: October 6, 2023                                      /s/ Don P. Amlin
